       Case 2:16-cv-15473-JTM-MBN Document 8 Filed 12/12/17 Page 1 of 7



                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


IN RE: TAXOTERE (DOCETAXEL)                         MDL NO. 2740
PRODUCTS LIABILITY LITIGATION
                                                    SECTION “N” (5)

THIS DOCUMENT RELATES TO:                           HON. KURT D. ENGELHARDT

Lisa Tuyes v. Sanofi S.A., et al.
Case No. 2:16-cv-15473




                          AMENDED SHORT FORM COMPLAINT
       Plaintiff(s) incorporate by reference the Amended Master Long Form Complaint and Jury
Demand filed in the above referenced case on March 31, 2017. Pursuant to Pretrial Order No. 15,
this Amended Short Form Complaint adopts allegations and encompasses claims as set forth in
the Amended Master Long Form Complaint against Defendant(s).
       Plaintiff(s) further allege as follows:
1.     Plaintiff:
               Lisa Tuyes
2.     Spousal Plaintiff or other party making loss of independent/secondary claim (i.e., loss of
       consortium):
               N/A
3.     Other type of Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):
               N/A
4.     Current State of Residence:               Louisiana
5.     State in which Plaintiff(s) allege(s) injury:         Louisiana




                                                   1
     Case 2:16-cv-15473-JTM-MBN Document 8 Filed 12/12/17 Page 2 of 7




6.   Defendants (check all Defendants against whom a Complaint is made):
            a.      Taxotere Brand Name Defendants
                              A.   Sanofi S.A.
                              B.   Aventis Pharma S.A.
                    ;          C.   Sanofi US Services Inc. f/k/a Sanofi-Aventis U.S. Inc.
                    ;          D.   Sanofi-Aventis U.S. LLC
            b.      Other Brand Name Drug Sponsors, Manufacturers, Distributors
                              A.   Sandoz Inc.
                              B.   Accord Healthcare, Inc.
                              C.   McKesson Corporation d/b/a McKesson Packaging
                              D.   Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc.
                              E.   Hospira, Inc.
                              F.   Sun Pharma Global FZE

                              G.   Sun Pharmaceutical Industries, Inc. f/k/a Caraco
                                    Pharmaceutical Laboratories Ltd.
                              H.   Pfizer Inc.
                              I.   Actavis LLC f/k/a Actavis Inc.
                              J.   Actavis Pharma, Inc.
                              K.   Other:




7.   Basis for Jurisdiction:
     ;      Diversity of Citizenship
           Other (any additional basis for jurisdiction must be pled in sufficient detail as
            required by the applicable Federal Rules of Civil Procedure:




                                              2
      Case 2:16-cv-15473-JTM-MBN Document 8 Filed 12/12/17 Page 3 of 7




8.    Venue:

      District Court and Division in which remand and trial is proper and where you might
      have otherwise filed this Short Form Complaint absent the direct filing Order entered by
      this Court:

      USDC Eastern District of Louisiana


9.    Brand Product(s) used by Plaintiff (check applicable):
      ;        A.    Taxotere
              B.    Docefrez
              C.    Docetaxel Injection
              D.    Docetaxel Injection Concentrate
              E.    Unknown
              F.    Other:




10.   First date and last date of use (or approximate date range, if specific dates are unknown)
      for Products identified in question 9:

      January 2008 through February 2008




11.   State in which Product(s) identified in question 9 was/were administered:


      Louisiana




                                               3
      Case 2:16-cv-15473-JTM-MBN Document 8 Filed 12/12/17 Page 4 of 7




12.   Nature and extent of alleged injury (including duration, approximate date of onset (if
      known), and description of alleged injury:


      Permanent, irreversible and disfiguring alopecia beginning after treatment with
      Taxotere (docetaxel) and continuing to present.


13.   Counts in Master Complaint brought by Plaintiff(s):
      ;      Count I – Strict Products Liability – Failure to Warn
            Count II – Strict Products Liability for Misrepresentation
            Count III – Negligence
            Count IV – Negligent Misrepresentation
            Count V – Fraudulent Misrepresentation
            Count VI – Fraudulent Concealment
            Count VII – Fraud and Deceit
            Count VIII – Breach of Express Warranty (Sanofi Defendants only)
      ;      Other: Plaintiff(s) may assert the additional theories and/or State Causes of
             Action against Defendant(s) identified by selecting “Other” and setting forth such
             claims below. If Plaintiff(s) include additional theories of recovery, for example,
             Redhibition under Louisiana law or state consumer protection claims, the specific
             facts and allegations supporting additional theories must be pleaded by Plaintiff in
             sufficient detail as required by the applicable Federal Rules of Civil Procedure.

                     Inadequate Warning Under LSA-RS 9:2800.57

            1.    Plaintiff repeats, reiterates, and re-alleges all paragraphs of the Master
      Long Form Complaint, with the same force and effect as if fully set forth herein.

              2.      Defendants researched, tested, developed, designed, licensed,
      manufactured, packaged, labeled, distributed, sold, marketed, and/or introduced
      TAXOTERE® into the stream of commerce, and in the course of same, directly
      advertised or marketed TAXOTERE® to consumers or persons responsible for
      consumers, and therefore, had a duty to both Plaintiff directly and her physicians to
      warn of risks associated with the use of the product, including, but not limited to,
      permanent disfiguring alopecia.




                                                4
Case 2:16-cv-15473-JTM-MBN Document 8 Filed 12/12/17 Page 5 of 7



       3.      Defendants had/have a duty to warn of adverse drug reactions,
including, but not limited to, permanent disfiguring alopecia, which they knew or
should have known can be caused by the use of TAXOTERE® and/or are associated
with the use of TAXOTERE®.

        4.      The TAXOTERE® designed, formulated, produced, manufactured,
sold, marketed, distributed, supplied and/or placed into the stream of commerce by
Defendants was defective in that it failed to include adequate warnings regarding all
adverse side effects, including, but not limited to, permanent disfiguring alopecia,
associated with the use of TAXOTERE®. The warnings given by Defendants did not
sufficiently and/or accurately reflect the symptoms, type, scope, severity, or duration
of the side effects and, in particular, the risks of disfiguring permanent alopecia.

        5.     Defendants failed to provide adequate warnings to physicians and
users, including Plaintiff’s physicians and Plaintiff, of the increased risk of disfiguring
permanent alopecia associated with TAXOTERE®, although Defendants aggressively
and fraudulently promoted the product to physicians.

       6.      Due to the inadequate warning regarding the serious risk for disfiguring
permanent alopecia, TAXOTERE® was in a defective condition and unreasonably
dangerous at the time that it left the control of Defendants.

        7.     Defendants’ failure to adequately warn Plaintiff and her prescribing
physicians of the serious risk of disfiguring permanent alopecia prevented Plaintiff’s
prescribing physicians and Plaintiff herself from correctly and fully evaluating the
risks and benefits of TAXOTERE®.

      8.      Had Plaintiff been adequately warned of the serious risk of disfiguring
permanent alopecia associated with TAXOTERE®, Plaintiff would not have taken
TAXOTERE®.

        9.     Upon information and belief, had Plaintiff’s prescribing physicians been
adequately warned of the serious risk of disfiguring permanent alopecia associated
with TAXOTERE®, Plaintiff’s physicians would have discussed the risks of
disfiguring permanent alopecia with Plaintiff and/or would not have prescribed it.

       10.     As a direct and proximate result of Defendants’ failure to warn of the
potentially severe adverse effects of TAXOTERE®, Plaintiff suffered disfiguring
permanent alopecia.

        11.      As a result of the foregoing acts and omissions, Defendants caused
Plaintiff to suffer serious and dangerous side effects, severe and personal injuries that
are permanent and lasting in nature, and economic and non-economic damages,
harms, and losses, including, but not limited to: past and future medical expenses; past
and future loss of earnings; past and future loss and impairment of earning capacity;
permanent disfigurement, including permanent alopecia; mental anguish; severe and




                                          5
Case 2:16-cv-15473-JTM-MBN Document 8 Filed 12/12/17 Page 6 of 7



debilitating emotional distress; increased risk of future harm; past, present, and future
physical and mental pain, suffering, and discomfort; and past, present, and future loss
and impairment of the quality and enjoyment of life.


                       Breach of Warranty in Redhibition

        12.      Plaintiff repeats, reiterates, and re-alleges all paragraphs of the Master
Long Form Complaint and all additional paragraphs herein, with the same force and
effect as if fully set forth herein.

        13.   TAXOTERE® contains a vice or defect which renders it useless or its
use so inconvenient that consumers, including Plaintiff, would not have purchased it
had they known about the vice or defect.

         14.    Pursuant to Louisiana Civil code article 2520, a seller warrants the
buyer against redhibitory defects, or vices, in the thing sold. TAXOTERE®, which
was manufactured, sold and promoted by Defendants, possesses hidden defects which
at the time of purchase were unknown to Plaintiff and which could not have been
discovered by Plaintiff, which defects render TAXOTERE® useless or so
inconvenient that it must be presumed that Plaintiff would not have bought
TAXOTERE® had she known of the defects.

        15.      Defendants were aware of the substantial risks of disfiguring
permanent alopecia associated with TAXOTERE® but failed to fully disclose those
risks to Plaintiff.

         16.     In accordance with Louisiana Civil Code article 2545, Defendants, as
the manufacturers, distributors and sellers of TAXOTERE®, are deemed to be aware
of its redhibitory defects.

       17.      Had Plaintiff been made aware of the defects contained in
TAXOTERE® at the time of sale, she would not have purchased TAXOTERE®. This
characteristic rendered TAXOTERE® unfit for its intended purposes.

        18.      Defendants are liable to Plaintiff under the theory of redhibition as a
consequence of the sale to Plaintiff of a product unfit for its intended use.
Plaintiff is entitled to the return of purchase price paid for TAXOTERE®, including,
but not limited to, insurance co-payments, interest on these amounts from the date of
purchase, attorneys’ fees and costs, pecuniary and non-pecuniary damages, as well as
any other legal and equitable relief to which Plaintiff may be entitled.




                                           6
      Case 2:16-cv-15473-JTM-MBN Document 8 Filed 12/12/17 Page 7 of 7




14.   Name of Attorney(s), Bar Number(s), Law Firm(s), Phone Number(s), Email Address(es)
      and Mailing Address(es) representing Plaintiff(s):

                                           By: /s/ Betsy Barnes

                                           LA19473
                                           Morris Bart, LLC
                                           601 Poydras St., 24th Fl.
                                           New Orleans, LA 70130
                                           Phone: (504) 525-8000
                                           Fax: (504) 599-3392
                                           bbarnes@morrisbart.com




                                              7
